              Case 8:13-bk-06404-CPM         Doc 120     Filed 02/14/19     Page 1 of 3


                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION
IN RE:

JENNIFER KAYE MARLOW
                                                          CASE NO. 8:13-bk-06404-CPM
                                                          CHAPTER 7
Debtor(s).
_________________________________/

         CREDITOR’S RESPONSE TO DEBTOR’S MOTION FOR SANCTIONS
   FOR VIOLATION OF THE AUTOMATCI STAY UNDER 11 U.S.C. SEC. 362(k) [DE-119]

         COMES NOW Creditor, NEW PENN FINANCIAL LLC D/B/A SHELLPOINT MORTGAGE
SERVICING, a secured creditor, by and through undersigned attorney and pursuant to all applicable
Bankruptcy Rules and Procedure, files this Response to the Debtor’s Motion for Sanctions for Violation
of the Automatic Stay under 11 U.S.C. Sec. 362(k) and Objection to Lift of Stay [DE-119] and would
respond as follows:
   1. On May 15, 2013, JENNIFER KAYE MARLOW, ("Debtor") filed a petition for relief under
Chapter 13 of the Bankruptcy Code and converted to Chapter 7 on October 7, 2013.
   2. Creditor holds a security interest in real property located at 94 Tatum Road, Sarasota, FL 34240.
Said Claim is based on a Note and Mortgage executed on November 4, 2002, by RALPH V. MARLOW
AND JENNIFER K. MARLOW in the principal amount of $216,000.00 which constitutes a lien upon
real property described as:
         BEGINS AT THE SOUTHEAST CORNER OF TRACT 35, PALMER RANCH,
         THIRD UNIT, ACCORDING TO THE PLAT THEREOF RECORDED IN PLAT
         BOOK 3, PAGE 39, OF THE PUBLIC RECORDS OF SARASOTA COUNTY,
         FLORIDA; THENCE NORTH 00 DEGREES 1 MINUTE 18 SECONDS EAST,
         ALONG THE WEST LINE OF TATUM ROAD, A DISTANCE OF 444.0 FEET
         FOR A POINT OF BEGINNING; THENCE CONTINUE NORTH 00 DEGREES 1
         MINUTE 18 SECONDS EAST, A DISTANCE OF 212.35 FEET; THENCE
         NORTH 98 DEGREES 37 MINUTES WEST, A DISTANCE OF 200 FEET;
         THENCE SOUTH 00 DEGREES 1 MINUTE 18 SECONDS WEST, A DISTANCE
         OF 212.35 FEET; THENCE SOUTH 88 DEGREES 37 MINUTES EAST, A
         DISTANCE OF 200 FEET TO THE POINT OF BEGINNING.

   3. Pursuant to Debtor’s Schedule C, the property is claimed exempt.
   4. On January 27, 2014, the Court entered the Order of Discharge of Debtor [DE-56].



1000002964
              Case 8:13-bk-06404-CPM          Doc 120     Filed 02/14/19     Page 2 of 3


   5. On December 7, 2018, the Court entered the Order Granting Motion to Confirm Termination or
Absence of Stay filed by Creditor New Penn Financial, LLC, (the “Order Terminating Stay”) [DE-109].
   6. Debtor filed the Motion for Sanctions for Violation of the Automatic Stay under 11 U.S.C. Sec.
362(k) and Objection to Lift of Stay, (the “Motion for Sanctions”) on February 11, 2019 [DE-119].
   7. Debtor’s Motion for Sanctions is wholly without merit as there was no violation of the
Automatic Stay. The Court’s Order Terminating Stay provided Creditor authorization to proceed to
State Court to obtain its remedies.
   8. Movant has obligated itself to pay costs and its attorney a reasonable fee for services in
connection with these bankruptcy proceedings and, pursuant to the terms of the Security Documents,
Debtor is obligated to reimburse Movant for said fees of $860.00.


       WHEREFORE, Creditor respectfully requests that this Court deny the Debtor’s Motion for
Sanctions for Violation of the Automatic Stay under 11 U.S.C. Sec. 362(k) and Objection to Lift of Stay
and for any other such relief as may deemed necessary by the Court.

                                                    eXL Legal, PLLC
                                                    Email Address: bk@exllegal.com
                                                    12425 28th Street North, Suite 200
                                                    St. Petersburg, FL 33716
                                                    Telephone No. (727) 536-4911
                                                    Attorney for the Movant

                                                    By: /s/ Alejandro G. Martinez-Maldonado
                                                    Alejandro G. Martinez-Maldonado
                                                    FL BAR # 108112




1000002964
             Case 8:13-bk-06404-CPM         Doc 120     Filed 02/14/19    Page 3 of 3




                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY THAT a true and correct copy of the foregoing was furnished on
February 14, 2019, by U.S. Mail and/or electronic mail via CM/ECF to:

BETH ANN SCHARRER, TRUSTEE
PO BOX 4550
SEMINOLE, FL 33775

UNITED STATES TRUSTEE - TPA7/13,7
TIMBERLAKE ANNEX, SUITE 1200
501 E POLK STREET
TAMPA, FL 33602

       The parties identified below were served on February 14, 2019, by U.S. Mail.

JENNIFER KAYE MARLOW
94 TATUM ROAD
SARASOTA, FL 32420



                                                   eXL Legal, PLLC
                                                   Email Address: bk@exllegal.com
                                                   12425 28th Street North, Suite 200
                                                   St. Petersburg, FL 33716
                                                   Telephone No. (727) 536-4911
                                                   Attorney for the Movant

                                                   By: /s/ Alejandro G. Martinez-Maldonado
                                                   Alejandro G. Martinez-Maldonado
                                                   FL BAR # 108112




1000002964
